Case 1:23-cv-00123-JAO-WRP Document 18 Filed 09/08/23 Page 1 of 1 PageID.34
  SHAWN A. LUIZ
  ATTORNEY AT LAW
  841 Bishop Street, Suite 200
  Honolulu, Hawai’i 96813
  Telephone: (808)538-0500 Fax (808) 564-0010
  Attorneyluiz@gmail.com
  _______________________________________________________________________

  September 8, 2023

  Via email to: porter_orders@hid.uscourts.gov and filed via ECF filing.

  Honorable Wes Reber Porter
  United States Magistrate Judge
  U.S. District Court for the District of Hawaii
  U.S. Courthouse, Prince Kuhio Federal Building
  300 Ala Moana Boulevard
  Honolulu, Hawai’i 96850

  Re: Wong v. IATSE LOCAL No. 665,
  CV-23-00123-JAO-WRP; Status Report

  Dear Judge Porter:

  As a status report regarding the filing of a First Amended Complaint on or
  before September 8, 2023, in the above-referenced case, I report the
  following:

  Plaintiff was given leave to file a First Amended Complaint on or before
  September 8, 2023. See ECF No. 15.

  After careful consideration, Plaintiff has elected to not file a first amended
  complaint and will instead proceed with the Original Complaint filed on
  March 6, 2023. See ECF No. 1.

  Very truly yours,
  /s/Shawn A. Luiz
  Shawn A. Luiz

  cc: Noah Kila Peterson, Esq., via email to noah@erisafundcounsel.com




                                            1
